      Case 4:18-cv-01347 Document 95 Filed on 08/12/20 in TXSD Page 1 of 1
                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                       IN THE UNITED STATES DISTRICT COURT                             August 12, 2020
                       FOR THE SOUTHERN DISTRICT OF TEXAS                             David J. Bradley, Clerk
                                 HOUSTON DIVISION

TERRY KATZ,                                     §
                                                §
                      Plaintiff,                §
                                                §
VS.                                             §   CIVIL ACTION NO. H-18-1347
                                                §
INTEL PHARMA, LLC, et al.,                      §
                                                §
                      Defendants.               §

                                            ORDER

       The defendants must respond to Katz’s Motion to Reopen Discovery, (Docket Entry No.

94), by August 19, 2020. A motion hearing is set for August 21, 2020, at 10:30 a.m., by Zoom.

The joint pretrial order and motion in limine deadline, and the Docket Call setting, are suspended

pending resolution of Katz’s motion.

               SIGNED on August 12, 2020, at Houston, Texas.


                                             _______________________________________
                                                          Lee H. Rosenthal
                                                   Chief United States District Judge
